
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. On June 21, 2005, claimant was traveling on the entrance ramp to 1-64 from Route 119 in Charleston, Kanawha County, when her vehicle struck an open lid to the wires to the street lights in the road, damaging a tire and rim.
2. Respondent was responsible for the maintenance of the entrance ramp to 1-64, which it failed to maintain properly on the date of this incident.
3. As a result of this incident, claimant’s vehicle sustained damage in the amount of $529.50. Claimant’s insurance deductible was $500.00.
4. Respondent agrees that the amount of $500.00 for the damages put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent was negligent in its maintenance of the entrance ramp to 1-64 from Route 119 on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $500.00.
Award of $500.00.
